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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :    20-CR-656 (PAE)
                                                                       :
MICHAEL HAGOOD,                                                        :         ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
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PAUL A. ENGELMAYER, United States District Judge:

        There is a proceeding in this matter scheduled for December 15, 2021, at 12:00 p.m. in

Courtroom 1305 of the Thurgood Marshall Courthouse, 40 Foley Square, New York, NY. Unless and

until the Court orders otherwise, the proceeding will be held in person.

        All members of the public, including attorneys, must complete a questionnaire and have their

temperature taken before being allowed entry into the Courthouse. Attached to this Order are

instructions and a link to the questionnaire. In light of these protocols, counsel and Defendant

should arrive at the Courthouse early to ensure that the proceeding can begin on time. A mask (fully

covering the mouth and nose) must be worn at all times while in the Courthouse. (Please note that

bandanas, neck gaiters, or masks with exhalation valves or vents are not permitted.) If someone does

not have adequate face covering, it will be provided upon entry by the Court Security Officers.

        In the interest of public health, and in order to comply with social distancing protocols, the

parties are strongly encouraged to limit the number of people in the courtroom as much as

possible. Indeed, seating at both counsel table and in the public area of the courtroom will be severely

limited. In view of those limitations and the restrictions on entry into the Courthouse, the parties

should immediately alert the Court if they anticipate the need for an overflow courtroom.

        Finally, counsel are strongly encouraged to ensure that any documents requiring a

signature are signed in advance of the proceeding and to submit any and all relevant documents
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to the Court in advance of the proceeding (via ECF or email, as appropriate).


       SO ORDERED.

Dated: December 8, 2021
       New York, New York
                                                     
                                              __________________________________
                                                     PAUL A. ENGELMAYER
                                                     United States District Judge




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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you will
be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.




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